 8:05-cr-00325-LES-TDT    Doc # 23   Filed: 10/26/05   Page 1 of 2 - Page ID # 34



            IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:05CR325
                              )
          v.                  )
                              )
SAMUEL SOTO-LOPEZ,            )                    ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue plea (Filing No. 22).          The Court finds said motion

should be granted.       Accordingly,

           IT IS ORDERED that the Rule 11 hearing is rescheduled

for:

                Friday, November 18, 2005, at 10:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.       The ends of justice will be served by

continuing this case and outweigh the interests of the public and

the defendant in a speedy trial.         The additional time between

October 27, 2005, and November 18, 2005, shall be deemed
 8:05-cr-00325-LES-TDT   Doc # 23   Filed: 10/26/05   Page 2 of 2 - Page ID # 35



excludable time in any computation of time under the requirement

of the Speedy Trial Act.      18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 26th day of October, 2005.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court




                                     -2-
